Case 2:16-cv-00890-SPC-MRM Document 13 Filed 01/11/17 Page 1 of 2 PageID 179



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

PRIVILEGE UNDERWRITERS
RECIPROCAL EXCHANGE, INC.
(PURE),

                  Plaintiff,

v.                                                           Case No: 2:16-cv-890-FtM-38MRM

HOBBICO, INC.,

                Defendant.
                                                  /

                                                ORDER1

        This matter comes before the Court on the Stipulation of the Parties to Remand to

State Court (Doc. #9) filed on January 10, 2017. As the parties agree that there is no

basis for federal subject-matter jurisdiction, the parties have agreed to the remand of the

Complaint. The request will be granted.

        Accordingly, it is now

        ORDERED:

        1. The Clerk is directed to remand the case to the Circuit Court of the Twentieth

            Judicial Circuit, in and for Collier County, Florida, and to transmit a certified

            copy of this Order to the Clerk of that Court.




1 Disclaimer: Documents filed in CM/ECF may contain hyperlinks to other documents or websites. These
hyperlinks are provided only for users’ convenience. Users are cautioned that hyperlinked documents in
CM/ECF are subject to PACER fees. By allowing hyperlinks to other websites, this Court does not endorse,
recommend, approve, or guarantee any third parties or the services or products they provide on their
websites. Likewise, the Court has no agreements with any of these third parties or their websites. The
Court accepts no responsibility for the availability or functionality of any hyperlink. Thus, the fact that a
hyperlink ceases to work or directs the user to some other site does not affect the opinion of the Court.
Case 2:16-cv-00890-SPC-MRM Document 13 Filed 01/11/17 Page 2 of 2 PageID 180



      2. The Clerk is further directed to terminate any pending motions and deadlines,

         and to close this case.

      DONE and ORDERED in Fort Myers, Florida this 11th day of January, 2017.




Copies: All Parties of Record




                                          2
